              *O^if^-^"0V;SVJOO ^OX)                   AX*oV AOJ^ »-W\>J-
            \^l^^ V*^V rVy*o^5L\>t_                        d-^jWOvj ^
                    irX>A\'2V>00 9UX) \^Y>Oiv;0 ^VV3\V) t5>^V V5\i
              0-V                             Y^d^S^X? ^O
         s\ ^'>\-V :^^N-V                         ^d\-o -QOvV T)^^^^X)•
         oy                      y\v>0ON Sr^9X>X) \\N-(r)C^C^\)\ ^            d
              X3d\.\>jN0                      \'^>0N^Vr9                \\^   -10^i
                                                  •V-via-;) j^o •-K^SX:^
m'SI8'     'Id
                               ONOOS ANvsns
                               910ZU Nnr
                                                                              o
                              aaiidi
     Case 4:13-cr-00818-PJH Document 391 Filed 06/11/18 Page 1 of 1
